                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - FLINT

IN RE:
                                                      CASE NO. 12-32264-dof
CHRISTOPHER D. WYMAN,                                 CHAPTER 7
                                                      HONORABLE DANIEL S. OPPERMAN
            DEBTOR,
_________________________________/

     ORDER GRANTING TRUSTEE’S MOTION TO SELL CERTAIN REAL
PROPERTY AND SETTLE AND RESOLVE VARIOUS ADVERSARY PROCEEDINGS
                        IN THIS MATTER

         This matter having come before this Honorable Court based upon the Trustee’s Motion to
Sell Certain Real Property and Settle and Resolve Various Adversary Proceedings in this Matter;
no objections having been filed to the Trustee’s Motion; or any filed objection having been
resolved; notice having been provided properly, pursuant to Rule 2002 and 9019 of the Federal
Rules of Bankruptcy Procedures; and the Court being fully advised in the premises;
         IT IS HEREBY ORDERED that Trustee’s Motion is granted and he is authorized to sell
the real property located at 1011 Jones Road, Howell, Michigan, Tax Id No. 470224300007, to
Gentry Sales, Inc. for the gross sum of $65,000.00.
         IT IS FURTHER ORDERED that the Trustee is authorized to pay outstanding real
estate taxes, tax prorations, transfer taxes, and normal closing costs charged to the Seller.
         IT IS FURTHER ORDERED that the following Adversary Proceedings shall be and
are hereby dismissed:
         1)     12-3341-dof, Mason v. Wyman;
         2)     12-3340-dof, Mason v. Gentry;
         3)     12-3347-dof, Mason v. Gentry; and
         4)     14-3017-dof, Mason v. Gentry.

Signed on July 05, 2018




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